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                                                                        USDC SDNY
                                                                        DOCUMENT
UNITED STATES DISTRICT COURT                                            ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                           DOC #: _________________
------------------------------------------------------------------X     DATE FILED: 12/17/19
JEROME SCHENTAG, individually and                                 :
derivatively on behalf of THEREABRAKE, INC. :
                                                                  :
                                                    Plaintiffs, :      1:17-cv-8734-GHW
                                                                  :
                              -against-                           :         ORDER
                                                                  :
  VOLANT HOLDINGS GMBH,                                           :
                                                 Defendant, :
                                                                  :
                               -and-                              :
                                                                  :
JOSEPH M. FAYAD,                                                  :
                                                                  :
                   Defendants-Counterclaim Plaintiffs, :
                                                                  :
                                -and-                             :
                                                                  :
  GEORG NEBGEN and PARVIZ                                         :
  GHARHRAMANI                                                     :
                                                                  :
                                   Counterclaim Plaintiff. :
------------------------------------------------------------------X


GREGORY H. WOODS, United States District Judge:
         A jury trial was held in this case from November 4, 2019 to November 13, 2019. At the

close of Plaintiffs’ case, the Court granted Defendant’s motion for judgment pursuant to Fed. R.

Civ. P. 50 with respect to Count 3 as designated in the Amended Joint Pretrial Order, Dkt. No. 169.

         The jury returned a verdict in favor of Defendant Fayad against Plaintiffs with respect to

Counts 1 and 2 as designated in the Amended Joint Pretrial Order. Plaintiffs thereafter stipulated

the Court should accept the jury’s determinations without further inquiry or fact-finding on those

Counts. Defendant Fayad consented to Plaintiffs’ request. Thus, the Court enters judgment in

favor of Defendant Fayad with respect to Counts 1 and 2 on the basis of the jury’s verdict against

Plaintiffs.
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        The parties also stipulated on the record to dismissing Plaintiffs’ Count 4 as designated in

the Amended Joint Pretrial Order without prejudice pursuant to Fed. R. Civ P. 41(a)(1)(A)(ii).

        Finally, the Court held a teleconference on December 17, 2019, during which it orally

delivered its decision with respect to Claim 5 as designated in the Amended Joint Pretrial Order.

For the reasons stated on the record during that conference, the Court will enter judgment for

Defendant Volant with respect to Claim 5.

        With respect to Counterclaim A as designated in the Amended Joint Pretrial Order, the jury

returned a verdict in favor of Counterclaim Defendants Schentag and TheraBrake.

        Accordingly, the Clerk of Court is directed to enter judgment in favor of Defendants on

Plaintiffs’ Counts 1, 2, 3, 4, and 5. The Clerk of Court is directed to enter judgment in favor of

Plaintiffs Schentag and TheraBrake on Counterclaim A.

        The Clerk of Court is further directed to terminate all pending motions and deadlines, and

close the case.

        SO ORDERED.

 Dated: December 17, 2019                            _____________________________________
 New York, New York                                           GREGORY H. WOODS
                                                             United States District Judge




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